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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )                  8:04CR186
               vs.                                )
                                                  )                    ORDER
ROBIN M. POINTS,                                  )
                                                  )
                       Defendant.                 )

       Defendant Robin M. Points (Points) appeared before the court on November 21, 2012, on
the Amended Petition for Warrant or Summons for Offender Under Supervision (Petition) (Filing
No. 145). Points was represented by Assistant Federal Public Defender Julie B. Hansen and the
United States was represented by Assistant U.S. Attorney Susan T. Lehr. Through her counsel,
Points waived her right to a probable cause hearing on the Petition pursuant to Fed. R. Crim. P.
32.1(a)(1). I find that the Petition alleges probable cause and that Points should be held to
answer for a final dispositional hearing before Chief Judge Laurie Smith Camp.
       The government moved for detention. Through counsel, Points declined to present any
evidence on the issue of detention but argued for release pending his dispositional hearing.
Since it is Points’s burden under 18 U.S.C. § 3143 to establish by clear and convincing evidence
that she is neither a flight risk nor a danger to the community, the court finds Points has failed to
carry her burden and that Points should be detained pending a dispositional hearing before Chief
Judge Smith Camp.
       IT IS ORDERED:
       1.      A final dispositional hearing will be held before Chief Judge Laurie Smith Camp
in Courtroom No. 2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,
Omaha, Nebraska, at 11:00 a.m. on December 13, 2012. Defendant must be present in person.
       2.      Defendant Robin M. Points is committed to the custody of the Attorney General or
his designated representative for confinement in a correctional facility;
       3.      Defendant shall be afforded a reasonable opportunity for private consultation with
defense counsel; and
       4.      Upon order of a United States court or upon request of an attorney for the
government, the person in charge of the corrections facility shall deliver defendant to the United
States Marshal for the purpose of an appearance in connection with a court proceeding.
       DATED this 21st day of November, 2012.

                                                      BY THE COURT:

                                                      s/ Thomas D. Thalken
                                                      United States Magistrate Judge
